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10   UNITED STATES OF AMERICA

11                           UNITED STATES DISTRICT COURT

12                     FOR THE CENTRAL DISTRICT OF CALIFORNIA

13   UNITED STATES OF AMERICA,                No. CR 17-697-SJO

14              Plaintiff,                    [PROPOSED] ORDER CONTINUING
                                              SENTENCING DATE
15                    v.
                                              [PROPOSED] SENTENING DATE:
16   DANIEL FLINT,                            September 16, 2019 at 10:00 a.m.
17              Defendant.

18

19         The Court has read and considered the Stipulation Regarding
20   Request for Continuance of Sentencing Date, filed by the parties in
21   this matter on June 20, 2019.       The Court hereby finds that the
22   Stipulation, which this Court incorporates by reference into this
23   Order, demonstrates facts that support a continuance of the
24   sentencing date.
25   //
26   //
27   //
28   //
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1          THEREFORE, FOR GOOD CAUSE SHOWN:

2          The sentencing date in this matter is continued from July 1,

3    2019, to September 16, 2019 at 10:00 a.m.

4          IT IS SO ORDERED.

5         June 24, 2019
6      DATE                                    HONORABLE S. JAMES OTERO
                                               UNITED STATES DISTRICT JUDGE
7     cc: USPO, PSA
8    Presented by:
9         /s/
      CHRISTINE M. RO
10    Assistant United States Attorney
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